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                      UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY
 ______________________________________
                                           )
 N.V.E., INC.,                             )
                                           )
                   Plaintiff,              )
                                           )  Civil Action No. 06-5455 (GEB)
        v.                                 )
                                           )  ORDER
 JESUS J. PALMERONI, et al.,               )
                                           )
                   Defendant.              )
 ______________________________________)
                                           )
 JESUS J. PALMERONI,                       )
                                           )
                   Third-Party Plaintiff,  )
                                           )
        v.                                 )
                                           )
 ROBERT OCCHIFINTO and WALTER              )
 ORCUTT,                                   )
                                           )
                   Third-Party Defendants. )
 ______________________________________)


        This matter having come before the Court upon a Motion to Withdraw the Reference of the

 plaintiff N.V.E., Inc. and third party defendants Robert Occifinto and Walter Orcutt (Docket Entry

 No. 68); and the Court noting that the defendant/third party plaintiff Jesus Joseph Palmeroni does

 not oppose the motion (Docket Entry No. 69); and this Court having jurisdiction to consider this

 motion pursuant to 28 U.S.C. § 1334; and the Court noting that “the district court may withdraw, in

 whole or in part, any case or proceeding referred under this section, on its own motion or on timely

 motion of any party, for cause shown,” and the factors to consider in determining whether there is

 cause to withdraw the reference include the efficient administration of justice, the reduction of forum

 shopping, the uniformity of bankruptcy administration, the economical use of the parties’ resources,
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 the statutory objective of utilizing the Bankruptcy Judge’s expertise, and the preservation of the

 appellate process, 28 U.S.C. § 157(d); In re Pruitt, 910 F.2d 1160, 1168 (3d Cir.1990) (citing

 Holland America Ins. Co. v. Succession of Roy, 777 F.2d 992, 999 (5th Cir. 1985)); In re Powelson,

 878 F.2d 976, 983 (7th Cir. 1989); and the Court having determined that such a withdrawal will

 promote the efficient administration of the matter; and for the reasons stated on the record during

 the teleconference held on October 22, 2009, and for good cause shown

        IT IS THIS 23rd day of October, 2009

        ORDERED that the Motion to Withdraw the Reference (Docket Entry No. 68) is

 GRANTED.




                                                              s/ Garrett E. Brown, Jr.
                                                            GARRETT E. BROWN, JR., U.S.D.J.
